Case 2:04-cr-20374-.]PI\/| Document 61 Filed 06/01/05 Page 1 of 2 Page|D 87

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IN THE UNITED STATES DISTRICT COURT F“~ED § LL~

FoR THE wEsTERN DISTRICT oF TENNESSEE l. 06
wEsTERN DIVISION 05 JUN "\ PH *'

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§§ 15 `::_ Fr’i"ing'\rs
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UNI'I'ED STATES OF AMERICA
Plaintiff,

VS. CR. NO. 04-203'74-Ml

`.,.-_,~_,~__,`,~__,`,

TANYA WI LLIAMSON

"’~__,

Defendant. )

 

O'RDER ON CHANGE OF PLEA

 

This cause Came to be heard on June l, 2005, the United States
Attorney for this district, Valeria Rae Oliver, appearing for the Government
and the defendant, Tanya Williamson appearing in person and with counsel
Shelia Brown, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count 3 of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for FRIDAY, SEPTEMBER 2, 2005, at 9:00
a.m., in Courtroom No. 4, on the 9th floor before Judge Jon Phipps McCalla.

Defendant is allowed to remain released on present bond.

ENTERED this the l day of June, 2005.

/QWMQM“'(\M\_

JON PHIPPS MCCALLA
UN ED STATES DISTRICT JUDGE

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UNITED sTATE DRISTIC COURT - WSTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 61 in
case 2:04-CR-20374 Was distributed by faX, mail, or direct printing on
June 2, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

